            Case 3:23-sw-00019-MRC                            Document 5             Filed 02/08/23           Page 1 of 2 PageID# 17


 AO 93C (08118) Warrant by Telephone or Other Reliable Electronic Means                    IXJ Original                 o Duplicate Original

                                            UNITED STATES DISTRICT COURT
                                                                              for the
                                                                Eastern District of Virginia

                   In the Matter of the Search of                                                                                 Feb 08 2023
                                                                                 )
              (Briefly describe the property to be searched                      )
               or identify the person by name and address)                       )      Case No. 3:23-sw-19
         BERNADETTE HAXHAJ, currently residing at                                )
                   1419 Fort Hill Drive,                                         )
                Richmond, Virginia 23226
                                                                                 )

                  WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC                                                                    MEANS
To:       Any authorized       law enforcement      officer

         An application by a federal law enforcement               officer or an attorney for the government         requests the search and seizure
of the following person or property located in the                         Eastern            District of                        Vir inia
(identify the person or describe the property to be searched and give its location):


  BERNADETTE HAXHAJ, currently residing at 1419 Fort Hill Drive, Richmond, Virginia 23226.




         I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be sei::.ed):
  DNA sample (buccal swabs)




          YOU ARE COMMANDED to execute this warrant on or before                               February 17, 2023       (not to exceed 14 days)
      ~ in the daytime 6:00 a.m. to 10:00 p.m.                 0 at any time in the day or night because good cause has been established.

         Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                      Hon. Mark R. Colombell
                                                                                                          (United States Magislrale Judge)

     o Pursuant to 18 U.S.c. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     o for         days (not to exceed 30)  0 until, the facts justitying, the later specific date of


Date and time issued:          02/03/2023     10:38 am                                                                  Is/vy\~
                                                                                                                  Judge 's signalure

City and state:      Richm_o_n_d_,,_V_i_,rg"-.in_i_a                      _             Hon. Mark R. Colombell, United States Magistrate Judge
                                                                                                                Prinled name and litle
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AO 93C (08118) Warrant by Telephone   or Other Reliable Electronic Means (Page 2)


                                                                               Return
Case No.:                                 Date and time warrant executed:                  Copy of warrant and inventory left with:
 3:23-sw-19                                 z· ~-23                     IOZ~A-M                     N A
Inventory made in the presence of:
                                         S
Inventory of the property taken and name(s) of any person(s) seized:




                                                                          x2




                                                                           Certification


         I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.




Date:     1.( <g £/ 1.02 ~
                                                                                               H West             FBI TFo
                                                                                                     Printed nJ11e and title
